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                        IN THE UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF ILLINOIS

                                      EASTERN DIVISION
 FILED: MARCH 26, 2009
                                                        09CV1885
SHEREE THOMAS and ANDREA THOMAS,                )
on behalf of herself and as the Parent and      )
                                                        JUDGE KENNELLY
Guardian of JACOB YOUNG, a minor                )       MAGISTRATE JUDGE COX
                                                )       AO
               Plaintiffs,                      )    JUDGE
                                                )
                       v.                       )    MAGISTRATE
                                                     )
CITY OF CHICAGO and CHICAGO POLICE                   )
OFFICER, B. ASKEW, Star # 9015                       )
                                                     )
                       Defendants.                   )       JURY TRIAL DEMANDED


                                          COMPLAINT

       NOW COME Plaintiffs, Sheree Thomas and Andrea Thomas on behalf of herself and as

as the Parent and Guardian of Jacob Young, a minor, through their attorneys Smith, Johnson &

Antholt, LLC and complaining of Defendants City of Chicago and Chicago Police Officer B.

Askew, Star # 9015, stating as follows:

                                JURISDICTION AND VENUE

      1.   This is a civil action seeking damages against defendants for committing acts under

color of law, which deprived Plaintiffs of rights secured by the Constitution and Laws of the

United States.

      2.   The jurisdiction of this Court is pursuant to the Civil Rights Act, 42 U.S.C. §1983;

the judicial code 28 U.S.c. § 1331 and 1343 (a); the Constitution of the United States; as well as

pendent jurisdiction as provided under U.S.C., § 1367(a).
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                                           The Parties

       3.      Plaintiffs Sheree Thomas, Andrea Thomas, and Jacob Young are residents of

Chicago, Cook County, Illinois.

       4.      Oficer B. Askew was at the time of this occurrence a Chicago Police Officer. He

engaged in the conduct complained of while on duty in the course and scope of his employment

and under color of law. He is sued in his individual capacity.

       5.      Defendant City of Chicago ("City") is a municipal corporation duly incorporated

under the laws of the State of Illinois, which operates the Chicago Police Department.



                                           Background

       6.      On August 7, 2008, Andrea Thomas was at her home in Chicago when Defendant

Askew came to her door.

       7.      Andrea Thomas opened the door and began to talk with Officer Askew.

       8.      Without any lawful justification, Defendant Askew grabbed Ms. Thomas' arm

and twisted it behind her back.

       9.      Defendant Askew forcefully took Ms. Thomas to the ground and handcuffed her.

       10.     Officer Askew then picked Ms. Thomas up by the handcuffs and began dragging

her down the steps and out of her home.

       11.     Sheree Thomas, Andrea Thomas' mother, pleaded with Officer Askew to stop his

unnecessary misconduct.

       12.     Sheree Thomas was carrying her grandson, Andrea Thomas' son Jacob Young, in

her arms.


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           13.   In response to her pleas, Defendant Askew shoved Sheree Thomas to the ground

knocking baby Jacob out of her arms and into the wall.

           14.   Defendant Askew then continued to drag Andrea Thomas down the stairs.

           15.   The unlawful actions of Defendant Askew caused Plaintiffs to suffer serious

physical and emotional injuries.

                                    Count I: 42 U.S.c. Section 1983

                                 Fourth Amendment - Excessive Force


       16.       Each of the foregoing Paragraphs is incorporated as if restated fully herein.

       17.       The actions of Defendant Askew, detailed above, constitute unreasonable,

unjustifiable, and excessive force against Plaintiffs, thus violating Plaintiffs' rights under the

Fourth Amendment to the United States Constitution.

       18. At all times relevant to the above allegations, Defendant Askew was acting under

color of law and within the scope of his employment.

       19. The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally with willful indifference to Plaintiffs' constitutional rights.

       20. As a proximate result of the above-detailed actions of the Defendant, Plaintiffs were

injured.


                                    Count II - State Law Claim

                                              Battery


       21.       Each of the foregoing Paragraphs is incorporated as if restated fully herein.

       22.       As described in the preceding paragraphs the actions of Defendant Officer Askew

constituted offensive physical contact made without the consent of Andrea Thomas, Jacob

Young, and Sheree Thomas.

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        23.     Defendant Officer Askew's actions was undertaken intentionally, willfully and

wantonly or were willfully, wantonly, and with reckless indifference or conscious disregard for

the safety of others.

        24.     By the actions detailed above, Defendant Officer Askew intentionally made

offensive bodily contact against Andrea Thomas, Jacob Young and Sheree Thomas and inflicted

bodily harm to them.

        25.     As a direct and proximate result of the battery, Andrea Thomas, Jacob Young,

and Sheree Thomas were injured.



                                   Count III - State Law Claim
                                           745 ILCS 10/9-102

        26.    Each of the foregoing Paragraphs is incorporated as if restated fully herein.

       27.     Defendant City of Chicago is the employer of Defendant Askew.

       28.     Defendant Askew committed the acts alleged above under color of law and in the

scope of his employment as an employee of the City of Chicago.

       WHEREFORE, Plaintiffs demand judgment against the Defendants, jointly and

severally, for compensatory damages and, because the Defendant B. Askew acted maliciously,

wantonly, or oppressively, Plaintiffs seek punitive damages against Defendant Askew in his

individual capacity, plus the costs of this action and attorney's fees, and for such other and

additional relief as this court deems equitable and just.

                                         JURY DEMAND

       Plaintiffs hereby demand a trial by jury on all issues so triable.



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                                      Respectfully submitted,



                                      /s/ Christopher R. Smith
                                      Attorney for Plaintiff


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